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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS


       BIC CORPORATION and BIC USA INC.,
                                                            CASE NO.:   1:   18-CV-07378

                        Plaintiffs,                         FILED UNDER SEAL

       vs.

       CHICAGO IMPORT, INC., DIAMOND
       WHOLESALE GROUP, INC., JOHN DOE
       COMPANIES 1-10, and JOHN or JANE DOES
       10,
                                                                 FILED
                                                                      APR092019        Nf-
                        Defendants.
                                                                   THOMASG BRUTON
                                                                CLERK, U.S. DISTRICTCOURT


       CHICAGO IMPORT,INC.,

                       Cross-Plaintiff,




       CHOICE TRADING INTERNATIONAL, LLC,
       CHOICE TRADING, LLC, GURPREET TANEJA
       (Nr</A GURU TANEJA),


                         Cross Defendants.




    CHICAGO IMPORT. INC'S ANSWER TO SECOND AMENDED COMPLAINT.
              AFFIRMATIVE DEFENSES AND CROSS CLAIM

       Now comes the Defendant, Chicago Import, Inc. ("Chicago Import"), through its

undersigned attorneys, and for its Answer to Plaintiffs' Second Amended Complaint and Jury

Demand states:
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                                       NATURE OF THE ACTION

          l.        This action is being brought by Plaintiffs to put an end to Defendants' wrongful

distribution in the United States (including in this District) of BlC-branded lighters, that are not

intended for distribution inside the United States, and that do not complywith various U.S. federal

standards and regulations.

ANSWER: Defendant denies that it wrongfully distributed in the United States (including in

this District) BlC-branded lighters, that are not intended for distribution inside the United

States, and that do not comply             with various U.S. federal standards and regulations.
Defendant therefore denies any remaining allegations.

       2.           Defendants have   willfully   and knowingly imported, sold, marketed, advertised and

or distributed products which do not contain federally mandated                enhanced child-resistant

technology and/or the required instructions, warnings, disclosures, markings and certifications

required under U.S. law.

ANSWER: Denies.

       3.           This is an action for trademark infringement under Section 32 of the Lanham Act,

15 U.S.C.      $   1117 (Registered Trademark Infringement); Section 43(a)       of the Lanham Act,   15


U.S.C. $ I 125(a), as amended (False Designation of Origin); contributory trademark infringement

under Section 43 of the Lanham Act, 15 U.S.C. $ I 1la(l)(a); Section 43(c) of the Lanham Act,

15 U.S.C. $ 1125(c) (Trademark Dilution in Violation of the Federal Trademark Dilution Act);

815 I.L.C.S. $ 510/1 et. seq. (Illinois Uniform Deceptive Trade Practices Act); 765 I.L.C.S.           $


1036165   (Illinois Trademark Registration and Protection Act); N.Y. Gen. Bus. Law. $ 349, et. seq.

(New York Deceptive and Unfair Trade Practices); N.Y. Gen. Bus. Law0 360-1 (New York Anti-

Dilution Statute); New Jersey Statute $ 56:4-1 to $ 56:4-2 (New Jersey Trademark Infringement
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and Unfair Competition Statute); N.J.S.A. 56:3-13.20 (New Jersey      Anti-Dilution Statute) and the

common law of the States of Illinois, New York and New Jersey.

ANSWER: Defendant admits that Plaintiffs have filed the reference causes of action, but

deny that the Defendant is liable to the Plaintiff under the referenced causes of action.

Defendant therefore denies any remaining allegations.

                                            PARTIES

       4.      Plaintiff BIC Corporation (hereinafter "BIC Corporation") is a          Connecticut

corporation, having its principal place of business in Shelton, CT.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       5.      Plaintiff BIC USA lnc. (hereinafter "BIC USA"), a wholly owned subsidiary of

BIC Corporation, is a Delaware corporation, having its principal place of business in Shelton, CT.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       6.      Upon information and belief, Chicago Import, Inc. (hereinafter "Chicago Import")

is an Illinois Corporation with a regular place of business at 3811 West Lawrence          Avenue,

Chicago, Illinois 60625 - Service may be made upon its registered agent, ASHOK PLTNJABI, 3 80 I

West Lawrence Avenue, Chicago, Illinois.

ANSWER: Admits.

       7.      Upon information and belief, Defendant Diamond Wholesale Group (hereinafter

"Diamond') is an Illinois Corporation with a regular place of business at.7252 West 87th Street,

Bridgeview, Illinois 60455. Service may be made upon its registered agent, Halawa Ill Registered

Agent, which has an address of 7000 West 11lth Street, Suite 102, Worth, Illinois 60482.
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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        8.      Upon information and belief, Defendant Choice Trading Intemational LLC

(hereinafter "Choice Trading International") is a New Jersey limited liability company with a

regular place of business at 7000 J.F. Kennedy Boulevard East, Suite    Ml lB, Guttenberg New

Jersey,07093.

ANSWER: Defendant lacks knowledge or information suflicient to form a belief about the

truth of the allegations.

       9.       Upon information and belief, Defendant International General Trading Corp., a/Wa

IGT Corp. (hereinafter "IGT") is a New York corporation with a regular place of business at 566

7th Avenue,   Rm. 804, New York, NY 10018.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        10.     Upon information and belief, Choice Trading, LLC (hereinafter "Choice Trading"),

is a New Jersey limited liability company with a regular place of business at 6809 Bellevue

Avenue, Guttenberg, NJ 07093.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        11.     Upon information and belief, Transworld International Trading Corp. (hereinafter

"Transworld"), is a New York corporation whose registered agent is New York State Registered

Agents, 7158 Austin Street, Suite 207, Forest Hills, NY 11375.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.
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          12.    Upon information andbelief, Gurjeet Singh Taneja (ukaGurjeet Singh, alWaGary

Taneja) (hereinafter "Gary Taneja"), is an individual residing at 1049   5th   Avenue #68, New York,

NY     10028. Upon information and belief, Gary Taneja is the principal        of Defendants IGT   and

Transworld.

ANSWER: Defendant lacks knowledge or information suflicient to form a belief about the

truth of the allegations.

          13.    Upon information and belief, Gurpreet Taneja (a/Wa Guru Taneja) (hereinafter

"Guru Taneja") is an individual residing at 1042 Arcadian Way, Fort Lee, New Jersey, 07024-

6348. Guru Taneja is the brother of defendant Gary Taneja and is the principal of Defendants

Choice Trading International,LLC and Choice Trading, LLC.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          14.    Upon information and belief, Ravi Kommi (hereinafter "Kommi") is an individual

residing at 601 Blossom Circle, Dayton, NJ 08810-2407. Upon information and belief, Kommi is

a   principal and/or agent of Transworld, IGT, Choice Trading, and Choice Trading International.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

         15.    Upon information and belief, Defendants Transworld, IGT, Kommi and Gary

Taneja, or some combination of them, acted in concert, are or were alter egos of one another.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.
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        16.      Upon information and belief, Defendants Choice Trading, Choice Trading

Intemational, Kommi and Guru Taneja, or some combination of them, acted in concert, are or were

alter egos ofone another.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        17.     Upon information and belief, Defendants Transworld, IGT, Choice Trading, and

Choice Trading International, or some combination of them, acted in concert, are or were corporate

alter egos of one another and of Gary Taneja, Guru Tanej a, and Kommi.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        18.     Upon information and belief, at relevant times, Transworld, IGT, Choice Trading,

and Choice Trading lnternational were operated and controlled by Defendants Gary Taneja, Guru

Taneja, and Kommi, and Gary Taneja, Guru Taneja, and Kommi were active participants in and

directed, the infringing and otherwise unlawful activity alleged herein.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        19.     BIC is currently unaware of the true names and identities of Defendants John Doe

Companies l-10 and John or Jane Does l-10, but is informed and believes that such persons and

entities are liable for the violations alleged in this Complaint. BIC may seek leave to further amend

this Complaint at an appropriate time to add specific information regarding these defendants upon

determination of their true identities.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.
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                                      JURISDICTION AND VENUE

          20.      This is a civil action arising from Defendants'misuse of BIC's trademarks and trade

dress. The claims alleged in this Complaint arise under the Lanham      Act,   15 U.S.C. $ 1051 et seq.,

and under the state law of Illinois, New York, and New Jersey.

ANSWER: Defendant denies that the Defendant misused BIC's trademarks and trade dress.

Defendants deny the remaining allegations.

          21.      This Court has jurisdiction over the subject matter of this action pursuant to    15


U.S.C. $$   ll2l    and28 U.S.C. $$ 1331 and 1338.

ANSWER: Denies.

          22.   This Court has authority to order nationwide service of an injunction issued

pursuant to   l5 U.S.C.   $   I 116(a).

ANSWER: Denies.

          23.   This Court has supplemental jurisdiction over BIC's state law claims pursuant to 28

U.S.C. $ 1367(a).

ANSWER: Denies.

          24.   Venue is proper in Illinois pursuant to 28 U.S.C. $ 1391(b).

ANSWER: Denies.

          25.   Venue is proper in the Northern District of Illinois as, upon information and belief,

Defendants are located therein and/or transacted business therein relative to the claims made

herein.

ANSWER: Defendant admits that it is located in the Northern District of Illinois. Defendant

denies any remaining allegations.
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        26.     This Court has personal jurisdiction over Chicago Import as it is an Illinois

corporation, it is located in the State of Illinois, and it sold, marketed, advertised and distributed

infringing goods or otherwise transacted business from the State of Illinois.

        ANSWER: Defendant admits that Chicago Import is an Illinois corporation, located

in the State of Illinois, and that it has transacted business from the State of Illinois. Defendant

denies the remaining allegations.

        27.     This Court has personal jurisdiction over Diamond as it is an Illinois corporation,

it is located in the State of Illinois,    and   it sold, marketed, advertised   and distributed infringing

goods or otherwise transacted business from the State of Illinois.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        28.     This Court has personal jurisdiction over Defendants Transworld, IGT, Choice

Trading, Choice Trading lnternational, Gary Taneja, Guru Tanej a, and Kommi as they have sold,

marketed, advertised, and distributed infringing goods or otherwise transacted business in the State

of Illinois. More particularly, Defendants Transworld, IGT, Choice Trading, Choice Trading

International, Gary Taneja, Guru Taneja, and Kommi have sold or conspired to sell infringing

goods to defendant Chicago Import, shipped or conspired             to ship infringing goods to Chicago

Import in the State of Illinois and those infringing goods have been sold to business and/or

individuals in the State of Illinois.   ,See, e.g.,   Monster Energt Co: v. Chen Wensheng,136 F. Supp.

3d 897,904 (N.D. ru. 2015).

ANSWER: Defendant admits that other defendants sold goods to Chicago Import and that

Chicago Import is located in Illinois. Defendant lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations.
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        29.      The effects of Defendants Transworld, IGT, Choice Trading, Choice Trading

Intemational, Gary Taneja, Guru Taneja, and Kommi's infringing and other unlawful activities

have been felt in the State of Illinois, and BIC has been harmed in the State of Illinois as a result

of these Defendants' activities, including but not limited to BIC's loss of market share to             the

Defendants' infringing Gray Market Goods, BIC losing exclusive control over the use of its marks

in Illinois, the infringing Gray Market   Goods causing confusion amongst consumers              in Illinois

about BIC products, and diluting the BIC Marks in Illinois.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        30.      This Court has personal jurisdiction over Gary Taneja, Guru Taneja, and/or Kommi

because he/they has/have personally engaged      in, directed other defendants to, and/or conspired

with the other named and John and Jane Doe defendants to sell, market, advertise, and distribute

infringing goods to defendant Chicago Import, and to ship infringing goods to Chicago Import in

the State of Illinois and those infringing goods have been sold to businesses and/or individuals in

the State of Illinois.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        3I   .   This Court has personal jurisdiction over John Doe Companies      1   -   10 as they, upon

information and belief, are located in the State of Illinois, sold, advertised and marketed infringing

goods or otherwise transacted business from the State of lllinois, and/or conspired with Chicago

Import, Diamond, Transworld, IGT, Choice Trading, Choice Trading International, Gary Taneja,

Guru Taneja, and/or Kommi to engage in such acts            in or   impacting the State        of Illinois.
ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.
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        32.     Likewise, this Court has personal jurisdiction over John or Jane Does I -10 as they,

upon information and belief, are located in the State of Illinois, sold, advertised and marketed

infringing goods or otherwise transacted business from the State of Illinois, caused injury to BIC

in the State of Illinois, anilor conspired with Chicago Import, Diamond, Transworld, IGT, Choice

Trading, Choice Trading International, Gary Taneja, Guru Tanej a, and/or Kommito engage in such

acts in or impacting the State of lllinois.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.



                                    F'ACTUAL BACKGROUND

BIC's Trademark Rishts

        33.     BIC is in the business of manufacturing and distributing high quality and reliable

consumer products, including lighters.

ANSWER: Defendant admits that BIC manufactures lighters. Defendant lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations.

        34.     For well over 30 years, and well before the acts of Defendants identified herein,

BIC has used various trademarks and source-identifying product configurations to indicate the

origin of its goods, including its lighters. These trademarks and configurations include              the

following terms, designs, and trade dress, which are registered with the United States Patent and

Trademark Office ("USPTO"), and are collectively referred to hereinafter as the "Marks":

       a.               "BIC" Reg. No. 2,324,480, registered with the USPTO in connection with

       "cigarette and cigar lighters not of precious metals," among other goods, with a date of first

       use of at least as early as 1971.      A true and correct copy of the registration certificate for

       this mark is attached hereto as Exhibit A.

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       b.               (BIC LOGO), Reg. No. 951,667, registered with the USPTO in connection

       with "cigarette lighters and refills therefor," with   a date   of first use at least as early as   1971   .




        A true and correct copy of the registration certificate for this mark is attached hereto              as


        Exhibit B.

        c.              (IMAGE OF LIGHTER 1), Reg. No. 1,767,622, registered with the USPTO

        in connection with "cigarette lighters not made of precious metals," with a date of first use

        at least as early as 1973. A true and correct copy of the registration certificate for this mark

        is attached hereto as   Exhibit C.

       d.               (IMAGE OF LIGHTER         2),   Reg. No. 2,278,917, registered with the

       USPTO in connection with "cigarette lighters not made of precious metals," with a date                 of

       first use at least as early as 1995. A true and correct copy of the registration certificate is

       attached hereto as   Exhibit D. This trade dress configuration is substantially similar to the

       prior configuration, but includes an enhanced child-resistant feature incorporated into

       BIC's lighter design in 1994.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       35.      In continuous and substantially exclusive use for over 40 years, as well as being

the subject of the expenditure of tens of millions of dollars in promotion and advertising, the Marks

are recognized as indicators    of source for BIC 's high-quality and pioneering lighters and are the

embodiments of the substantial and valuable goodwill associated with Plaintiffs'products.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.




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          36.   As a result of BIC's substantial efforts, and prior to the acts of Defendants alleged

herein, the Marks have become famous in the minds of consumers to identiff BIC as the source

for BIC's goods.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          37.   BIC Corporation is the owner of the Marks in the United States and licenses them

to BIC USA.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

BlC-Branded Lishters

          38.   BIC, the sole domestic manufacturer of disposable lighters, has a 40-year history

of providing safe, reliable non-refillable pocket lighters to millions of Americans. Since   l974,BlC

has been a market leader in the industry and has worked extensively with the United States

Consumer Product Safety Commission ("CPSC")            in the development and implementation of       a

national standard for child-resistant non-refillable pocket lighters. In the third quarter of 1985, BIC

began a research and development program with the goal of improving the design of non-refillable

pocket lighters to further ensure child safety. Since then, BIC has spent in excess of $32 million in

research and development, engineering and the acquisition of intellectual property for enhanced

child-resistant technology which has been incorporated in its disposable lighters sold in the United

States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          39.   Shortly after the corlmencement of BIC's research and development program, BIC

came to the conclusion that there should be a mandatory industry standard for child safety and

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began working directly with the American Society for Testing and Materials     ("ASTM"), its lighter

subcommittee, and the CPSC to develop a child-resistant lighter standard. In so doing, BIC shared

the results of its research and development work in this area with these entities.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        40.    All lighters   sold and distributed throughout the United States by BIC since CPSC

promulgated its regulations in 1994 have included enhanced child-resistant technology, the third

generation of which is comprised of a mechanism incorporation a metal guard over the spark

wheel. The CPSC regulations help ensure the consuming public receives only safe and genuine

US-compliant BIC products.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        41.    Closely following CPSC regulations is critical to BIC's maintenance of quality

control standards for its US products.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       42.     BIC does not sell any non-refillable pocket lighters in the United States that do not

have enhanced child-resistant technology as required by U.S. law.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       43. Societe BIC, an independent affiliate of BIC, is a French corporation             whose

subsidiaries and affiliate companies distribute lighters outside of the United States. In countries

where enhanced child-resistant designs are required by law, BIC only sells enhanced child resistant

desigus incorporating the technology required by the CPSC.

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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        44.    In addition to incorporating enhanced child-resistant technology,   U.S.-destined

lighters bearing the Marks, their master shipping cases, and point-of-purchase display trays and

packaging and the lighters themselves bear various textual consumer instructions, warnings,

disclosures and certifications, such as "KEEP AWAY FROM CHILDREN," "COMPLIES WITH

16 C.F.R. 1210," ''IGNITE LIGHTER        AWAY FROM FACE AND CLOTHING,'' ''BE SURE

LIGHTER       IS OUT AFTER USE,'' and ''CONTAINS FLAMMABLE GAS                          TINDER

PRESSURE," among others.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        45.    For lighters destined for sale outside the United States, BIC is respectful of the

requests and requirements   of those governments and consumers by offering lighters with     and

without enhanced child-resistant features and with warnings and instructions that meet or exceed

the local requirements, laws, and regulations.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       46.     Lighters bearing the Marks, their master shipping cases, and point-of-purchase

display trays that are intended for distribution outside the United States do not bear the U.S.

federally mandated warnings and statements and/or implement such warnings and statements

required in different ways, such as through pictures. Moreover, when they appear, statements are

often printed in foreign languages.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.
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       47.     Some lighters bearing the Marks that are intended for distribution outside the

United States are packaged in cases and trays which bear graphics and language that are not

authorized for use in the U.S. market.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        48.    Lighters bearing the Marks, as well as their point-of-purchase packaging and cases,

which are intended for distribution outside the United States, bear markings, graphics and designs

that differ from those appearing on U.S.-destined goods. Further, the unit count of containers and

point-of-purchase displays for these goods differ for U.S. and non-U.S. destined goods.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        49.    Thus, lighters distributed outside the United States, while visually difficult to

distinguish from domestic BIC lighters, are materially different from domestic BIC lighters due to

the absence of the prescribed enhanced child-resistant technology and textual instructions,

warnings, disclosures, and certifications.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

US. and Foreisn Lighters are Materiallv Different Products

       50.     Upon information and belief, Defendants purchased lighters bearing the Marks

which were manufactured and were intended for distribution outside the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       51.     Upon information and belief, said lighters were imported into the United States in

violation of United States Customs regulations including, without limitation, 19 C.F.R. 133.23.
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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        52.    Unlike lighters intended for distribution in the United States, these lighters bear

pictorial warnings, rather than English language warnings. A comparison of lighters intended for

distribution outside the United States and the propff U.S.-labeled lighters appears below:

(PHOTO)

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       53.     Unlike lighters intended for distribution in the U.S., the labels associated with the

non-U.S. lighters do not include appropriate and legally required instructions and disclosures in

English on the lighter body; appropriate instructions, disclosures and certifications on the storage

trays and header cards; and appropriate instructions, disclosures and certifications on the master

shipping cases. Additionally, the point-of-purchase packaging and master shipping cases for such

lighters bear different markings, graphics and designs than those of authorized U.S. goods.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        54.    Lighters intended for distribution outside the U.S. also lack the enhanced child-

resistant technology including a metal guard over the spark wheel incorporated in U.S. destined

lighters, as the side-by-side comparison below demonstrates:

(PHOTO)

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.




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          55.   In addition, the master shipping cases in which lighters intended for sale outside of

the United States do not display the required DOT master shipping case design approval number,

and do not bear a child-resistant testing certification.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          56.   Master shipping cases for foreign countries also bear a conspicuous stamp stating,

"NON CR AREA," meaning that the lighters contained therein may only be sold in           areas where

child-resistant feafures are not required.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

Defendants' lV'ronsful Acts

          57.   Upon information and belief, in at least May       of 2017, A:ugast of    2017, and

September of 2018, the Transworld, IGT, Choice Trading, and/or Choice Trading International,

directed by, in concert with, or in the course of a conspiracy with Gary Taneja, Guru Taneja, and/or

Kommi, marketed, offered for sale, sold and shipped Gray Market Goods to Defendant Chicago

Import, as well as other wholesalers and distributors in the United

States.

ANSWER: Defendant admits that it purchased lighters that are at issue in this litigation.

Defendant lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations.

          58.   Upon information and belief, in October 2018 and at other times, before and up to

the present time, all Defendants advertised, offered for sale and sold lighters in the United States,

branded with BIC's Marks, with improper markings and without enhanced child resistant



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technology, which were packaged in master shipping cases that are not labeled in compliance with

Department of Transportation regulations.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        59.     Upon information and belief, Defendants have sold improperly marked, and non-

CPSC-compliant, lighters bearing the Marks to various retailers and distributors in the United

States and intend   to imminently sell additional improperly marked, and non-CPSC-compliant,

lighters bearing the Marks to other retailer and distributor customers.

        ANSWER: Defendant denies that is intends to imminently sell improperly marked,

and non-CPSC-compliant, lighters bearing the Marks to other retailer and distributor

customers. Defendant lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations.

        60.     The products advertised, offered for sale and sold by Defendants fail to comport

with relevant U.S. standards and./or regulations.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        61.    Upon information and belief, Defendants are currently in possession of additional

stock of improperly marked, and non-CPSC-compliant, lighters bearing the Marks, and intend to

imminently sell said lighters in interstate commerce.

ANSWER: Denies.

        62.    Upon information and belief, Defendants engaged in these acts with the knowledge

of BIC's rights and the willful intent to violate same.

ANSWER: Denies.



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        63.     Defendants' unlawful actions are having, and       will continue to have,   a substantial

and adverse effect on United States commerce.

ANSWER: Denies.

        64.     Defendants' wrongful acts and/or        willful infringements have caused, and will

continue to cause, irreparable harm to BIC unless permanently enjoined, for which BIC has no

adequate remedy at law.

ANSWER: Denies.

        65.     Defendants are profiting, and   will   continue to profit from their unlawful actions.

ANSWER: Denies.

        66.     Defendants' actions are causing and      will continue to cause BIC monetary damage

in amounts presently unknown but to be determined at trial.

ANSWER: Denies.

        67.     The CPSC has concluded that the child-resistant technology and markings

mandated under its regulations are necessary in order to ensure the safety of the consuming public,

and especially children.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        68.     These features are lacking on the non-compliant goods being sold by Defendants.

Defendants' actions thus present significant public health and safety concerns.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        69.     Defendants' actions may potentially place consumers, or children thereof, in danger

if their actions are not enjoined.


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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

           70.     By selling these lighters, the Defendants have knowingly engaged in violations of

the Lanham Act, as well as other federal laws and regulations. The Defendants' conduct and other

evidence suggests that the Defendants knew that the non-U.S. lighters could not legally be sold in

the United States. Given the possibility of civil and criminal enforcement action against them, and

the potential liabilities and penalties that may be imposed, there is a real risk that the Defendants

will    conceal or destroy their records or dispose of remaining inventory.

ANSWER: Denies.

           71.     On information and belief, John Doe Companies l-10 and John and Jane Does 1-

10 have conspired      with the Defendants to carrying out the wrongful conduct alleged herein.

ANSWER: Denies.

                FIRST CLAIM FOR RELIEF'BY PLAINTIFF BIC CORPORATION
                              Federal Trademark Infrinqement
                             Lanham Act I32. 15 U.S.C. Q 1114

           72.     BIC repeats, repeats, reiterates and re-alleges each and every allegation contained

in Paragraphs I through 71 hereof as if fully set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                I   through   7l as if
fully   set   forth herein.

          73.      BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          74.      BIC USA is the exclusive licensee of the Marks in the United States.



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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       75.         Defendants have not been gtanted any right to use the Marks in the United States.

ANSWER: Denies.

       76.         Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       77   .      Defendants' uses of the Marks have caused and/or are likely to cause confusion or

mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods imported,

offered and sold by Defendants.

ANSWER: Denies.

       78.         Defendants' wrongful acts and/or             willful infringements, for which BIC has no
adequate remedy at law, have caused, and              will continue to cause damages   and irreparable harm to

BIC unless permanently enjoined.

ANSWER: Denies.

       79.         Defendants are liable for trademark infringement, in violation of Section 32 of the

Lanham Act, 15 U.S.C. $ I I14.

ANSWER: Denies.

                              SECOND CLAIM FOR RELIEF BY BIC
                                Federal False Desisnation of Orisin
                                Lanham Act I43. 15 U.S.C. Q 1125

       80.         BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs      I through 79 hereof   as   if fully   set forth herein.




                                                           2L
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ANSWER: Defendant repeats and re-alleges its answers to paragraphs 1 through 79 as                  if
fully   set   forth herein.

          81.      BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          82.      BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          83.      Defendants have not been granted any right to use the Marks in the United States.

ANSWER: Denies.

          84.      Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

         85.       Defendants'uses of the Marks have caused and/or are likely to cause confusion or

mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods imported,

offered and sold by Defendants.

ANSWER: Denies.

         86.       Defendants' wrongful acts and/or       willful infringements, for which BIC has no
adequate remedy at law, have caused, and      will   continue to cause damages and irreparable harm to

BIC unless permanently enjoined.

ANSWER: Denies.



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          87   .     Defendants are liable for trademark infringement, in violation of Section 43 of the

Lanham Act, 15 U.S.C. $ 1125.

ANSWER: Denies.

                                    THIRD CLAIM FOR RELIEF BY BIC
                                    Contributorv Trademark Infringement
                                    Lanham Act Q 43. 15 U.S.C. Q 1114(1Xa)

          88.        BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs         I through   87 hereof as   if fully   set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs 1 through 87 as                    if
fully   set   forth herein.

          89.        BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          90.        BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          91.        Defendants have provided to retailer and/or distributor customers lighters bearing

the Marks on goods that are materially different than those authorized to be sold under said Marks

in the United         States,   with knowledge, expectation and/or intention that the retailers   and/or

distributors would use the Marks in connection with the sale of such lighters.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

         92.         Defendants and their retailer and/or distributor customers have not been granted

any right to use the Marks in the United States.

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ANSWER: Denies.

       93.        The unauthorized uses of the Marks by retailers and/or distributors supplied by

Defendants have caused and/or are likely to cause confusion or mistake, or to deceive regarding

the source, sponsorship and/or affiliation of the goods imported, offered and sold by retailers

and/or distributors supplied by Defendants.

ANSWER: Denies.

       94.        Defendants have intentionally induced or contributed to or knowingly participated

in the infringement of BIC's rights in the Marks by the Defendant's retailer and distributor

customers.

ANSWER: Denies.

       95.        Defendants have profited from the infringement of BIC's rights in the Marks by

Defendant the Defendants' retailer and distributor customers.

ANSWER: Denies.

       96.        Defendants'wrongful acts and/or willful contributory infringements, for which BIC

has no adequate remedy at law, have caused, and           will   continue to cause damages and irreparable

harm to BIC unless permanently enjoined.

ANSWER: Denies.

       97.        Defendants are liable for contributory trademark infringement, in violation of

Section 43 of the Lanham Act, 15 U.S.C. $111a(1Xa).

ANSWER: Denies.

                              FOURTH CLAIM FOR RELIEF BY BIC
                                       Federal Dilution
                                Lanham Act I43. 15 U.S.C. I 1125

       98.        BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs   1   through 97 hereof as if fully set forth herein.

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ANSWER: Defendant repeats and re-alleges its answers to paragraphs 1 through 97 as                 if
fully   set   forth herein.

          99.      BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          100.     BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          101.     The Marks are famous within the meaning of the law, and were famous prior to the

acts committed by Defendants discussed herein.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          102.     Defendants have not been granted any right to use the Marks in the United States.

ANSWER: Denies.

          103.     Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          I04.     Defendants'uses of the famous Marks injure BIC's business reputation and have

diluted and,/or are likely to dilute the distinctive qualities of the Marks.

ANSWER: Denies.




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          105.      Defendants' wrongful acts and/or     willful dilution, for which BIC   has no adequate

remedy at law, have caused, and       will continue to cause damages and irreparable harm to BIC

unless permanently enjoined.

AI\SWER: Denies.

          106.      Defendants are liable for trademark dilution,      in violation of Section 43 of   the

Lanham Act,       l5 U.S.C. $ 1125.

ANSWER: Denies.

                              FIFTH CLAIM F'OR RELIEF BY BIC
               Illinois Common Law Trademark Infringement and Unfair Competition

          107. BIC       repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 106 hereof as      if fully   set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs 1 through 106 as if

fully   set   forth herein.

          108.     BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          109.     BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          110.     BIC, at great expense and effort, has acquired a property interest in the State of

Illinois in the Marks in connection with their goods.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

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        11   1.   Defendants have misappropriated Plaintiffs' labors and expenditures.

ANSWER: Denies.

        112.      Defendants have not been granted any right to use the Marks in the United States.

ANSWER: Denies.

        I13.      Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        ll4.      Defendants'uses of the Marks have caused and/or are likely to cause confusion or

mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods imported,

offered and sold by Defendants.

ANSWER: Denies.

        115.      Defendants' conduct is an attempt to wrongfully profit from the expense, effort and

reputation of BIC within the State of Illinois.

ANSWER: Denies.

        116.      Defendants'wrongful acts andlor willful infringements, for which BIC has no

adequate remedy at law, has caused, and     will   continue to cause damages and irreparable harm to

BIC unless permanently enjoined.

ANSWER: Denies.

        ll7   .   Defendants are liable for trademark infringement, in violation of Illinois law. BIC

is thereby entitled to injunctive relief, damages and costs, as well as,    if   appropriate, enhanced

damages and reasonable attomeys' fees.

ANSWER: Denies.



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                          SIXTH CLAIM F'OR RELIEF BY BIC
                          Deceptive and Unfair Trade Practices
 Illinois Uniform Decentive Trade Practices Act ("IUDTPA").815 I.L.C.S.              Q   510/l eL sea.

          118. BIC repeats, reiterates          and re-alleges each and every allegation contained in

Paragraphs      I through   117 hereof as   if fully   set   forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                I through    117 as    if
fully   set   forth herein.

          119.     BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          120.     BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          l2l.     BIC, at great expense and effort, has acquired a property interest in the State of

Illinois in the Marks in connection with their goods.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          122.     Defendants have not been granted any right to use the Marks in the United States.

ANSWER: Denies.

          123.     Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.



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          124.      Defendants'uses of the Marks have caused and/or are likely to cause confirsion or

mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods imported,

offered and sold by Defendants.

ANSWER: Denies.

          125.      Defendants' conduct is an attempt to wrongfully profit from the expense, effort and

reputation of BIC within the State of Illinois.

ANSWER: I)enies.

          126.      Defendants' wrongful acts and/or        willful infringements, for which BIC has no

adequate remedy at law, has caused, and        will   continue to cause damages and irreparable harm to

BIC unless permanently enjoined.

ANSWER: Denies.

          127   .   Defendants are liable for deceptive and unfair trade practices, in violation of 815

I.L.C.S. $ 510/1 et. seq. BIC is thereby entitled to injunctive relief, damages and costs, as well as,

if   appropriate, enhanced damages and reasonable attorneys' fees.

ANSWER: Denies.

                             SEVENTH CLAIM FOR RELIEF BY BIC
                                       Trademark Dilution
              Illinois Trademark Reqistration and Protection Act. 765I.L.C.S. 1036/65

          128. BIC       repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 127 hereof as if fully set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                  I through 127 as if
fully   set   forth herein.

          129.      BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.




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ANSWER: Defendant lacks knowledge or information suflicient to form a belief about the

truth of the allegations.

        130.    BIC USA is the exclusive licensee of the Marks in the United States.

AIISWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        131.    The Marks are distinctive and famous within the meaning of 765I.L.C.S. 1036165,

and were famous prior to the acts committed by Defendants discussed herein.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        132.    Defendants have not been granted any right to use the Marks in the United States.

ANSWER: Denies.

        133.    Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        134.    Defendants' uses of the famous Marks injure BIC's business reputation and have

diluted and./or are likely to dilute the distinctive qualities of the Marks.

ANSWER: Denies.

        135.    Defendants' wrongful acts and/or     willful dilution, for which BIC has no adequate

remedy at law, have caused, and      will continue to cause damages and irreparable harm to BIC

unless permanently enj oined.

ANSWER: Denies.




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          136.       Defendants are liable for trademark dilution, in violation of 765I.L.C.S. 1036165.

BIC is thereby entitled to injunctive relief, damages and costs,       as   well as, if appropriate, enhanced

damages and reasonable attorneys' fees.

ANSWER: Denies.

                              EIGHTH CLAIM FOR RELIEF BY BIC
              New York Common Law Trademark Infrinsement and Unfair Competition
                   (As to Defendants IGT, Transworld, Gary Taneja and Kommi)

          137. BIC         repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs      1   through 136 hereof as if fully set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                      I through   136 as   if
fully   set   forth herein.

          138.       BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          139.       BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          140.       Defendants IGT, Transworld, Gary Taneja and Kommi (hereinafter the "New York

Defendants") have not been granted any right to use the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          L4l.       The New York Defendants have imported into the United States and/or received in

interstate colnmerce, lighters intended for sale outside the United States which are materially

different from lighters authorized by BIC to be sold under the Marks in the United States.

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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        142. The New York Defendants'                  uses   of the Marks, including the unauthorized
importation and distribution of international lighters, have caused and/or are likely to cause

confusion or mistake, or to deceive regarding the source, sponsorship and/or affiliation of the

goods imported, offered and sold by Defendants.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        143.   The New York Defendants' conduct is a bad faith attempt to wrongfully profit from

the expense, effort and reputation of BIC within the State of New York.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        144.   The New York Defendants' acts constitute an infringement of BIC's trademark

rights in violation of the cofirmon law of the State of New York.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        145.   The New York Defendants'wrongful acts and/or              willful infringements, for which

BIC has no adequate remedy at law, have caused, and will continue to cause damages                   and

irreparable harm to BIC unless permanently enjoined.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       146.    The New York Defendants are liable for trademark infringement and unfair

competition in violation of New York common law. BIC is thereby entitled to injunctive relief,

damages and costs, as   well   as,   if appropriate,   enhanced damages and reasonable attomeys' fees.

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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

                                NINTH CLAIM FOR RELIEF BY BIC
                                 Deceptive and Unfair Trade Practices
                                   N.Y. Gen. Bus. Law.8 349 er. seq.
                    (As to Defendants IGT, Transworld, Gary Taneja and Kommi)

          147. BIC       repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 146 hereof as if fully set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs               I   through 146 as if

fully   set   forth herein.

          148.     BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          149.     BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          150.     The New York Defendants have not been granted any right to use the Marks in the

United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          l5l.     The New York Defendants have imported into the United States and/or received in

interstate commerce, lighters intended for sale outside the United States which are materially

different from lighters authorized by BIC to be sold under the Marks in the United States.




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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        152.       The New York Defendants' acts, including the offering for sale, selling, advertising,

and distribution of international lighters were directed at consumers.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        153.       The New York Defendants' acts, including the offering for sale, selling, advertising,

and distribution of intemational lighters were misleading in a material way to consumers and the

public at large.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        154.       The New York Defendants'acts, including the offering for sale, selling, advertising,

and distribution of intemational lighters harm the public interest and are a threat to public safety

in that the international lighters do not include safety features such as child-resistant technology.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        155.       The New York Defendants' acts, including the offering for sale, selling, advertising,

and distribution of international lighters have caused and are continuing to cause injury to BIC in

violation of New York General Business Law $ 349, et. seq.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        156.       The New York Defendants' unfair and deceptive trade practices, as alleged herein,

for which BIC has no adequate remedy at law, has caused, and will continue to cause damages and

irreparable harm to BIC unless permanently enjoined.

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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          157.       The New York Defendants are liable for deceptive and unfair trade practices, in

violation of N.Y. Gen. Bus. Law $ 349, et. seq . BIC is thereby entitled to injunctive relief, damages

and costs, as well as,      if   appropriate, enhanced damages and reasonable attorneys'fees.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

                                TENTH CLAIM FOR RELIEF BY BIC
                                         Trademark Dilution
                      New York Anti-Dilution Stature N.Y. Gen. Bus. Law Q 360-1
                     (As to Defendants IGT, Transworld, Gary Taneja and Kommi)

          158. BIC         repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs      1   through 157 hereof as if fully set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                   I through   157 as   if
fully   set   forth herein.

          159.       BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          160.       BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          161   .    The New York Defendants' acts are causing dilution by blurring and/or tamishment,

and damaging the business reputation of BIC in violation of New York General Business Law$

360-1.


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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        162.       The Marks possess a distinctive quality and/or have acquired secondary meaning

within the meaning of N.Y. Gen. Bus. Lawg360-1.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        163.      The New York Defendants have not been granted any right to use the Marks in the

United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        164.      The New York Defendants'wrongful acts and/or willful dilution, for which BIC

has no adequate remedy at law, have caused, and           will   continue to cause damages and irreparable

harm to BIC unless permanently enjoined.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        165.      The New York Defendants are liable for trademark dilution, in violation of N.Y.

Gen. Bus. Law$ 360-1. BIC is thereby entitled to injunctive relief.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

                      ELEVENTH CLAIM FOR RELIEF BY BIC
       New Jersev Common Law Trademark Infringement and Unfair Competition
    (As to Defendants Choice Trading International, Choice Trading, Guru Taneja and
                                                  Kommi)

       166. BIC         repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs   1   through I 65 hereof as if fully set forth herein.


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ANSWER: Defendant repeats and re-alleges its answers to paragraphs              I through   165 as   if
fully   set   forth herein.

          167.     BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          168.     BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          169.     Defendants Choice Trading International, Choice Trading, Guru Taneja and

Kommi (hereinafter the "New Jersey Defendants") have not been granted any right to use the

Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          170.     The New Jersey Defendants have imported into the United States and/or received

in interstate comnerce, lighters intended for sale outside the United States which are materially

different from lighters authorized by BIC to be sold under the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          l7l.     The New Jersey Defendants' uses of the Marks, including the unauthorized

importation and distribution of international lighters, have caused and/or are likely to cause

confusion or mistake, or to deceive regarding the source, sponsorship and/or affiliation of the

goods imported, offered and sold by Defendants.



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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

              172.   The New Jersey Defendants' conduct is a bad faith attempt to wrongfully profit

from the expense, effort and reputation of BIC within the State of New Jersey.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

              173.   The New Jersey Defendants'wrongful acts and/or             willful infringements, for which

BIC has no adequate remedy at law, have caused, and will continue to cause damages                          and

irreparable harm to BIC unless permanently enjoined.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          174.       The New Jersey Defendants are liable for trademark infringement and unfair

competition in violation of New Jersey common law. BIC is thereby entitled to injunctive relief,

damages and costs, as well as,           if   appropriate, enhanced damages and reasonable attomeys' fees.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

                       TWELFTH CLAIM FOR RELIEF BY BIC
                    Trademark Infringement and Unfair Comnetition
                         New Jersev Statute I 56:4-1 to I 56: 4-2
    (As to Defendants Choice Trading International, Choice Trading, Guru Taneja and
                                        Kommi)

          175. BIC        repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs      1   through   17   4 hereof as   if fully   set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                         I through   174 as   if
fully   set   forth herein.



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        176.   BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        177.   BIC USA is the exclusive licensee of the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        178.   The New Jersey Defendants have not been granted any right to use the Marks in

the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        179.   The New Jersey Defendants have imported into the United States and/or received

in interstate commerce, lighters intended for sale outside the United States which are materially

different from lighters authorized by BIC to be sold under the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        180.   The New Jersey Defendants' uses of the Marks, including the unauthorized

importation and distribution of international lighters, have caused and/or are likely to cause

confusion or mistake, or to deceive regarding the source, sponsorship and/or affiliation of the

goods imported, offered and sold by Defendants.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

       181.    The New Jersey Defendants' conduct is a bad faith attempt to wrongfully profit

from the expense, effort and reputation of BIC within the State of New Jersey.

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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          182.     The New Jersey Defendants'wrongful acts and./or         willful infringements, for which

BIC has no adequate remedy at law, have caused, and will continue to cause damages                     and

irreparable harm to BIC unless permanently enjoined.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          183.     The New Jersey Defendants are liable for trademark infringement and unfair

competition in violation of New Jersey common law. BIC is thereby entitled to injunctive relief,

damages and costs, as well as,      if   appropriate, enhanced damages and reasonable attorneys'fees.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

                     THIRTEENTH CLAIM FOR RELIEF BY BIC
                                  Trademark Dilution
                   New Jersev Anti-Dilution Stature N.J.S.A. 56:3-13.20
    (As to Defendants Choice Trading International, Choice Trading, Guru Taneja and
                                         Kommi)

          184. BIC repeats, reiterates          and re-alleges each and every allegation contained in

Paragraphs      I through   183 hereof as   if fully   set forth herein.

ANSWER: Defendant repeats and re-alleges its answers to paragraphs                    I through   183 as   if
fully   set   forth herein.

          185.     BIC Corporation is the owner and registrant of the Marks and the Marks are valid

and legally protectable.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

          186.     BIC USA is the exclusive licensee of the Marks in the United States.
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ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        187.   The New Jersey Defendants have not been granted any right to use the Marks in

the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        188.   The New Jersey Defendants have imported into the United States an#or received

in interstate commerce, lighters intended for sale outside the United States which are materially

different from lighters authorized by BIC to be sold under the Marks in the United States.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        189.   The Marks are famous within the meaning of N.J.S.A.56:3-13.20.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        190.   The New Jersey Defendants' acts are causing dilution of the distinctive quality     of

the Marks and damaging the business reputation of BIC in violation of N.J.S.A. 56:3-13.20.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.

        l9l.   The New Jersey Defendants'wrongful acts and/or         willful dilution, for which BIC

has no adequate remedy at law, have caused, and     will   continue to cause damages and irreparable

harm to BIC unless permanently enjoined.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.


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        192.    The New Jersey Defendants are liable for trademark dilution, in violation of

N.J.S.A. 56:3-13.20. BIC is thereby entitled to injunctive relief, damages and costs, as well as, if

appropriate, enhanced damages and reasonable attorneys' fees.

ANSWER: Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations.



                                  AFFIRMATIVE DEF'ENSES

        Chicago Import, Inc. ("Chicago Import") asserts the following affirmative defenses          as


against the allegations in the First Amended Complaint:

                               FIRST AFFIRMATIVE DEFENSE
                                      First Sale Doctrine

        l.      Plaintiffs have asserted various actions against Chicago Import based on allegations

that Chicago Import improperly sold lighters manufactured and distributed by Plaintiffs that

Plaintiffs allege should not have been sold in the United States ("Alleged Gray Market Lighters").

        2.      The Alleged Gray Market Lighters were manufactured by Plaintiffs.

        3.      The Alleged Gray Market Lighters were sold by Plaintiffs.

        4.      Plaintiffs sold the Alleged Gray Market Lighters to third party distributors, which

such third party distributors are located within the United States. In the altemative, Plaintiffs sold

the Alleged Gray Market Lighters which such third party distributors in turn sold the alleged Gray

Market Lighters to distributors located within the United States.

        5.     Chicago Import purchased the alleged Gray Market Lighters from United States

distributors or third party distributors located within the United States for fair value and without

knowledge that Plaintiffs would now claim that the Alleged Gray Market Lighters may not be sold

in the United States.


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       6.      Plaintiffs' actions against Chicago Import based on the sale of the Alleged Gray

Market Lighters are barred, in whole or in part, by the first sale doctrine.

                          SECOND AF'FIRMATIVE DEF'ENSE
         Failure to Take Measures to Prevent Gray Market and Counterfeit Goods

       7.      Plaintiffs has asserted various actions against Chicago Import based, in part, on

 Chicago Import's sale of Alleged Gray Market Lighters.

        8.     Plaintiff s actions are barred in whole or in part by their failure to take actions to

mark their products and to bar the importation of the Alleged Gray Market Lighters in one or more

of the following ways:

               a.        Failing to mark that the Alleged Gray Market Lighters may not be sold in
                         the United States;

               b.        Failing to designate the country(ies) in which the Alleged Gray Market
                         Lighters may be sold;
               c.        Failed to register the marks at issue in this case with the United States
                         Customs   & Border Protection; and
               d.        Failed to take reasonable measures to insure that the Alleged Gray Market
                         Lighters would not be sold in the United States.
                               THIRD AFFIRMATIVE DEFENSE
                                              Unclean Hands

        19.    Plaintiffs have asserted various actions against Chicago Import based on allegations

that Chicago Import improperly sold lighters manufactured and distributed by Plaintiffs that

Plaintiffs allege should not have been sold in the United States ("Alleged Gray Market Lighters").

       20.     Plaintiffs place into the market each year millions of lighters which are physically

and materially indistinguishable from the alleged Gray Market Lighters which the Defendant

purchased and resold.

WHEREFORE, Chicago Import denies that Plaintiffs are entitled to any of the relief requested in

their Amended Complaint and respectfully requests:
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                 A. An order dismissing the Amended Complaint with prejudice;

                 B. An award of fees, interest, and costs; and,

                 C. Such other relief as the Court deems just and proper.

CROSS CLAIM FOR INDEMNIFICATION AND CONTRIBUTION AGAINST CHOICE
  TRADING INTERNATIONAL. LLC. CHOICE TRADING. LLC. AND GURPREET
                    TANEJA (A/IVA GURU TANEJA)

          NOW COMES the Cross-Plaintiff, Chicago Import, Inc. ("Chicago Import"), and for its

Cross Claim against Cross-Defendants, Choice Trading International, LLC, Choice Trading, LLC,

and Gurpreet Taneja (alWa Guru Taneja), states:

                              FACTS COMMON TO ALL COUNTS

          1.    Chicago lmport is an Illinois corporation, with its principal place of business in

Chicago, Illinois.

          2.    This action is a Cross Claim brought pursuant to Rule 13 of the Federal Rules of

Civil Procedure.

          3.    The claims in the Cross Claim arise out of the same transactions that are the subject

matter of the original action alleged by Plaintiffs against DefendanVCross-Plaintiff, Chicago

Import.

          4.    The Court has personal jurisdiction over Cross-Defendants, Choice Trading

International,LLC, Choice Trading, LLC, and Gurpreet Taneja (alWal Gurjeet Singh, a/WaGuru

Taneja, (hereinafter "Guru"), (all collectively referred to as the "Cross-Defendants"),   as these cross


defendants transacted business in this District, and a substantial part of the events giving rise to

Plaintiffs'alleged claims and Cross-Plaintiff Chicago Import's claims occurred in this District.

          5.    Plaintiffs filed a multi-count Second Amended Complaint ("Complaint") against

Chicago Import alleging that Chicago Import marketed and sold lighters manufactured and sold

by the Plaintiffs but which the Plaintiffs claim were not made for the United States marketplace

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(the "Alleged Gray Market Lighters." The allegations contained in Plaintiffs' Complaint are

expressly incorporated herein. Plaintiffs' Complaint      in this action alleges theories of trademark

infringement and other theories of redress.

        6.      Chicago Import purchased the lighters from the Cross Defendants, and the lighters

that Chicago Import purchased from the Cross-Defendants are the Alleged Gray Market Lighters

that Plaintiffs allege infringe their intellectual property and other rights.

                                        Count I
             Uniform Commercial Code Indemnification Against Cross Defendants

        7.      Chicago Import restates and realleges the allegations contained in paragraphs          1



through 6, as and for its allegations of paragraph 7, as if fully set forth herein.

        8.      Cross-Defendants are sellers and merchants regularly dealing           in the sale of
consumer goods, including the sale of lighters.

        9.      Cross-Defendants sold lighters manufactured and distributed           by Plaintiffs   to

Chicago Import that are the subject of goods alleged by Plaintiffs to infringe their intellectual

property and other rights.

        10.     The lighters sold by the Cross-Defendants were all shipped to Chicago Import in

Illinois. Section 2-312 of the Illinois Uniform Commercial Code, 810 ILCS 512-3l2,applies to the

sale of lighters from the Cross-Defendants to Chicago     Import. Section 2-312(3) states in relevant

part:

           (3) Unless otherwise agreed a seller who is a merchant regularly dealing in goods
        of the kind warrants that the goods shall be delivered free of the rightful claim of
        any third person by way of infringement or the like but a buyer who furnishes
        specifications to the seller must hold the seller harmless against any such claim
        which arises out of compliance with the specifications.

        11.    Plaintiffs'Complaint against Chicago Import alleges that the lighters sold by

Chicago Import infringe Plaintiffs' intellectual property and other rights. Chicago Import


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purchased the lighters that Plaintiffs allege infringed Plaintiffs' intellectual property and other

rights from the Cross-Defendants.

        12.     Accordingly, the Cross Defendants must indemnify and hold Chicago Import

harmless, including through the payment of Chicago Import's attorney's fees and costs to defend

the allegations asserted in Plaintiffs' Complaint, and for any settlement and./or damages to

Plaintiffs and against Chicago Import.

                                          COUNT II
                             Contribution Against Cross Defendants

        13.     Chicago Import restates and realleges the allegations contained in paragraphs           1



through 12, as and for its allegations of paragraph 1 3, as if fully set forth herein.

        14.     Plaintiffs have alleged several causes of action against Chicago Import, including

but not limited to claims for trademark infringement and unfair competition. Plaintiffs' allegations

contained in their Complaint provide that Chicago Import is subject to potential liability in tort.

        15.     Chicago Import purchased the Alleged Gray Market Lighters from the Cross

Defendants.

        16.     Defendant and Cross-Plaintiff, Chicago Import's, liability to Plaintiffs,   if   any, was

caused solely or primarily by Cross-Defendants tortious conduct         of selling the alleged Alleged

Gray Market Lighters.

        17.     Cross-Defendants actions     of selling Alleged Gray Market Lighters to          Chicago

Import which allegedly infringed Plaintiffs' intellectual property and other rights was the

proximate or legal cause of any alleged damages or injuries claimed by Plaintiffs.

        18.    Further, Cross-Defendants' actions of selling Alleged Gray Market Lighters to

Chicago Import without disclosing that they allegedly infringed Plaintiffs' intellectual property




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and other rights induced Chicago Import to take the actions now alleged to infringe Plaintiffs'

rights.

          19.   To the extent any of Plaintiffs' rights were infringed by Chicago Import, which

Chicago Import denies, Cross-Defendants actively and knowingly enticed Chicago Import to

infringe Plaintiffs' rights.

          20.   At all times relevant to the allegations contained in Plaintiffs' Complaint           against

Chicago Import, there existed the Illinois Joint Tortfeasor Contribution Act, 740 ILCS 10010.01 et

seq-


          21.   In the event Plaintiffs are able to recover anypart of their alleged damages from

Defendant and Cross-Plaintiff, Chicago Import, for Cross-Defendants' actions               -   which damages

Defendant and Cross-Plaintiff Chicago Import denies       -    then Cross-Defendants should be held

responsible for such loss.

          22.   Chicago Import is entitled to contribution from Cross-Defendants in an amount

commensurate with Cross-Defendants' pro-rata shares of any common liability in accordance               with

Illinois' Contribution Act.

                                          COUNT III
                      Equitable Indemnification Against Cross Defendants

          23.   Chicago Import restates and realleges the allegations contained in paragraphs I

through 22, as and for its allegations of paragraph23, as if   fully   set forth herein.

          24.   Cross-Defendants sold Plaintiffs Alleged Gray Market Lighters to Chicago Import

that are the subject of goods alleged by Plaintiffs to infringe their intellectual property and other

rights. Cross-Defendants sold those Alleged Gray Market Lighters to Chicago Import knowing

that the Alleged Gray Market Lighters infringed Plaintiffs' intellectual property and other rights.

At the very least, Cross-Defendants sold the Alleged Gray Market Lighters to Chicago Import in

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willful   disregard for whether the Alleged Gray Market Lighters infringed Plaintiffs' intellectual

property and other rights. Cross-Defendants never informed Chicago Import that the Alleged Gray

Market Lighters infringed Plaintiffs' intellectual property and other rights.

          25.    Chicago Import denies that it is liable to Plaintiffs. If, however, Chicago Import is

found liable for any of the theories of recovery asserted by Plaintiffs in their Complaint against

Chicago Import, then the conduct of Cross-Defendants in selling Chicago Import the Alleged Gray

Market Lighters caused or contributed to the injury and damage alleged by Plaintiffs in their

Complaint.

          26.    Therefore,   if Plaintiff recovers a judgment or settlement   against Chicago Import,

then Chicago lmport is entitled to    a   judgment over and against Cross-Defendants for the fair and

proportionate share of any such judgment or settlement. Further, Cross-Defendants are liable for

all of Chicago Import's reasonable attomey's fees and costs in defending the present action.

                                    COUNT IV
    Uniform Commercial Code Breach of Implied Warranties Against Cross Defendants
                    Under 810ILCS 512-312,512-314, and 5/2-315.

          27.    Chicago Import restates and realleges the allegations contained in paragraphs         1



through 6, as and for its allegations of paragraph26, as if fully set forth herein.

          28.    Cross-Defendants are sellers and merchants regularly dealing           in the sale of
consumer goods, including the sale of lighters.

          29.    Cross-Defendants sold lighters manufactured and distributed          by Plaintiffs to
Chicago Import that are the subject of goods alleged by Plaintiffs to infringe their intellectual

property and other rights.

          30.    The lighters sold by the Cross-Defendants were all shipped to Chicago Import in

Illinois. Section 2-312 of the Illinois Uniform Commercial Code, 810ILCS         512-312, applies to the




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sale of lighters from the Cross-Defendants to Chicago     Import. Section 2-312(3) states in relevant

part:

           (3) Unless otherwise agreed a seller who is a merchant regularly dealing in goods
        of the kind warrants that the goods shall be delivered free of the rightful claim of
        any third person by way of infringement or the like but a buyer who furnishes
        specifications to the seller must hold the seller harmless against any such claim
        which arises out of compliance with the specifications.

        31.     Plaintiffs' Complaint against Chicago Import alleges that the lighters sold by

Chicago Import infringe Plaintiffs' intellectual property and other rights. Chicago Import

purchased the lighters that Plaintiffs allege infringed Plaintiffs' intellectual property and other

rights from the Cross-Defendants.

        32.     Accordingly,   if   the lighters sold by the Cross Defendants to Chicago Import are

found to be infringing, then the Cross Defendants have breached the warranty of title and against

infringement.




        33.     Section 2-314 of the Illinois Uniform Commercial Code,      Sl0ILCS       512-314, applies

to the sale of lighters from the Cross-Defendants to Chicago Import. Sections 2-314(l)-(3) state

in relevant part:

          (l) tAl  warranty that the goods shall be merchantable is implied in a contract for
           their sale if the seller is a merchant with respect to goods of that kind.

          (2) Goods to be merchantable must be at least such as

                (a) pass without objection in the trade under the contract description;
                and

                (b) in the case of fungible goods, are of fafu average quality within
                the description; and

                (c) are fit for the ordinary purposes for which such goods are used;
                and




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                (d) run, within the variations permitted by the agreement, of even
                kind, quality and quantity within each unit and among all units
                involved; and

                (e) are adequately         contained, packaged, and labeled as the
                agreement may require; and

                (f) conform to the promises or affirmations of fact made on the
                container or label   if   any.

           (3) Unless excluded or modified (Section 2-316) other              implied
           warranties may arise from course of dealing or usage of trade.

        34.     Further, Section 2-315 of the Illinois Uniform Commercial Code, 810 ILCS 5/2-

315, applies to the sale of lighters from the Cross-Defendants to Chicago Import. Section 2-315

states in relevant part:

        Where the seller at the time of contracting has reason to know any particular
        purpose for which the goods are required and that the buyer is relying on the seller's
        skill or judgment to select or furnish suitable goods, there is unless excluded or
        modified under the next section an implied warranty that the goods shall be fit for
        such purpose.



        35.     The Cross Defendants knew that Chicago Import intended to purchase lighters that

could lawfully be re-sold in the United States.

        36.     As wholesale sellers of imported and non-imported goods familiar with the import

laws and regulations, the Cross Defendants knew that Chicago Import, a downstream purchaser

and consumer, was relying on the Cross Defendants to provide lighters that could lawfully be sold

in the United States, and that the US-bound lighters were virtually indistinguishable from those

destined for sale in other countries.

        37.     Chicago Import relied on the Cross Defendants expertise and judgment             AS


wholesale sellers of imported and non-imported goods to provide lighters that could lawfully be

sold in the United States.



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       38.     Chicago Import has never disclaimed or waived any express or implied warranty

related to the purchase of the lighters from the Cross Defendants.

        39.    Lighters distributed by Plaintiffs outside of the United States ("non-US bound

lighters") are physically and materially indistinguishable from those sold in the United States

("US-bound lighters"). Plaintiffs admit the non-US bound lighters are "visualiy difficult to

distinguish from domestic BIC lighters" (Second Amended Complaint fl49).

        40.    As a result of the virtually indistinguishable US-bound and non-US bound lighters,

Chicago Import could not reasonably determine or foresee that the lighters purchased from the

Cross Defendants could not be lawfully sold in the United States.

        41.    Chicago Import's inventory of lighters was seized without recompense by Plaintiffs

or Cross Defendants. Consequently, Chicago Import has been damaged by the Cross Defendants'

breaches of implied warranties.

       42.     Chicago Import is entitled to a judgment over and against Cross-Defendants for the

dollar amount paid for the seized lighters, Chicago Import's lost profits, and any incidental and

consequential damages in an amount to be determined at trial pursuant to, at least, 810 ILCS 5-

607,608, and714. Further, Cross-Defendants are liable for all of Chicago Import's reasonable

attorney's fees and costs in defending the present action.

WHEREFORE, Cross-Plaintiff Chicago Import requests that this Court:

       A.      Enter judgment against Cross-Defendants for any and        all sums that may    be

               adjudged and awarded to Plaintiffs against Chicago Import, as well as Chicago
               Import's attorney's fees, costs and all disbursements incurred by Chicago lmport
               in defense of Plaintiffs' action;
       B.      Enter judgment against Cross-Defendants if judgment is entered against Chicago
               Import as to the claims of Plaintiffs, by way of contribution to the fullest extent
               permitted by law;


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        C.     Enter judgment against Cross-Defendants         if   judgment is not entered against
               Chicago Import as to the claims of Plaintiffs   if Chicago Import   does not secure the

               return of the lighters previously seized on Plaintiffs' behalf; and
        D.     Grant Cross-Plaintiff Chicago Import such other relief as this Court deems just and

               equitable.




                                                      Respectfully submitted,

                                                      /s/ Mark D. Roth
                                                      Attorney for Chicago Import, Inc.


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